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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

JOEL CASTANEDA, Case No. CV 21-03248-JAK (DFM)
Petitioner, JUDGMENT
V.
THERESA CISNEROS

Respondent.

 

 

Pursuant to the Court’s Order Accepting Report and Recommendation
of United States Magistrate Judge,
IT IS ADJUDGED that the Petition is denied and this action dismissed

Gin VE

JOHN A. KRONSTADT
United States District Judge

with prejudice.

Date: September 23, 2021

 
